      Case 8-19-71469-ast     Doc 9    Filed 03/15/19   Entered 03/15/19 14:55:18




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
________________________________________
In re:

     Luz Mensing,                                       NOTICE OF MOTION
                                                        FOR RELIEF FROM
                                                        AUTOMATIC STAY

             Debtor
                                                        Chapter 7
                                                        Case No. 19-71469
________________________________________



      PLEASE TAKE NOTICE, that upon the annexed application of Schiller, Knapp,

Lefkowitz & Hertzel LLP, attorneys for Ajax Mortgage Loan Trust 2018-F, Mortgage-

Backed Securities, Series 2018-F, by U.S. Bank National Association, as Indenture

Trustee by its servicing agent Gregory Funding, LLC, (hereinafter “Movant”), the

undersigned respectfully moves this Court for an Order, pursuant to 11 U.S.C.

§362(d)(1), terminating the automatic stay to permit Movant its nominees and/or

assigns to proceed with action to foreclosure its mortgage with respect to certain real

property of the Debtor, commonly known as 187 Princess Street, Hicksville, New York

11801 together with Movant’s attorneys’ fees and costs, and such other and further

relief as the Court may deem just and proper.

      PLEASE TAKE FURTHER NOTICE, that this Motion shall be returnable on the

2nd day of May, 2019 at 10:30 am in the forenoon of that day, or as soon thereafter as

counsel can be heard, at UNITED STATES BANKRUPTCY COURT, ALFONSE M.
      Case 8-19-71469-ast    Doc 9   Filed 03/15/19   Entered 03/15/19 14:55:18




D’AMATO FEDERAL COURTHOUSE, 290 FEDERAL PLAZA – COURTROOM 960

CENTRAL ISLIP, NY 11722

      PURSUANT TO BANKRUPTCY RULE 9014 AND LOCAL BANKRUPTCY

RULE 9006-1(a), IF YOU INTEND TO OPPOSE THE MOTION, YOU MUST SERVE

ON GF’S COUNSEL AND FILE WITH THE CLERK OF THE BANKRUPTCY

COURT, WRITTEN OPPOSITION TO THE MOTION SO AS TO ENSURE ACTUAL

RECEIPT NOT LATER THAN SEVEN (7) DAYS BEFORE THE RETURN DATE.

DATED: March 15, 2019                        SCHILLER, KNAPP, LEFKOWITZ
                                             & HERTZEL LLP

                                             __s/Lisa Milas___________
                                             Lisa Milas, Esq.
                                             Attorneys for Ajax Mortgage Loan Trust
                                             2018-F, Mortgage-Backed Securities,
                                             Series 2018-F, by U.S. Bank National
                                             Association, as Indenture Trustee
                                             (herein after “U.S. Bank”) by its
                                             servicing agent Gregory Funding,
                                             LLC950 New Loudon Road
                                             Latham, New York 12110
                                             (518) 786-9069

TO:   Luz Mensing
      Debtor
      187 Princess Street
      Hicksville, NY 11801

      Darren Aronow
      Debtor’s Counsel
      Aronow Law Firm, P.C.
      20 Crossways Park Drive North
      Suite 210
Case 8-19-71469-ast   Doc 9    Filed 03/15/19   Entered 03/15/19 14:55:18




Woodbury, NY 11797
Kenneth P. Silverman, Esq.
Chapter 7 Trustee
100 Jericho Quadrangle, Suite 300
Jericho, New York 11753

Office of the United States Trustee
Eastern District of New York
Long Island Federal Courthouse
560 Federal Plaza, Room 560
Central Islip, New York 11722-4437
      Case 8-19-71469-ast     Doc 9    Filed 03/15/19   Entered 03/15/19 14:55:18




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
_______________________________________
In re:                                                  MOTION FOR
                                                        RELIEF FROM
                                                        AUTOMATIC STAY
      Luz Mensing,

                                                        Chapter 7
                                                        Case No. 19-71469-AST
                  Debtor.
_______________________________________

      Ajax Mortgage Loan Trust 2018-F, Mortgage-Backed Securities, Series 2018-F, by

U.S. Bank National Association, as Indenture Trustee (herein after “U.S. Bank”) by its

servicing agent Gregory Funding, LLC (hereinafter “GF”), a secured creditor of the

above-named Debtor, moves the above-entitled Court for an Order granting relief from

the automatic stay pursuant to 11 U.S.C. §362(d)(1) to permit it to proceed with an

action to foreclose its mortgage on certain real property of the Debtor, commonly

known as 187 Princess Street, Hicksville, New York 11801, and more particularly

described in a copy of a mortgage annexed hereto and made a part hereof as Exhibit

“A.” As grounds for said Motion, it is hereby alleged as follows:

      1.     On April 5, 2005, the debtor borrowed $308,000.00 from JPMorgan Chase

Bank, N.A. The indebtedness was evidenced by a note, which was secured by a

mortgage on the aforesaid real property. See attached Exhibit “A”, which is

incorporated by reference. The loan is serviced by GF. As servicing agent, GF accepts

payments and maintains loan records.
      Case 8-19-71469-ast     Doc 9   Filed 03/15/19    Entered 03/15/19 14:55:18




      2.     The aforementioned loan was modified by an agreement dated May 1,

2008. See attached Exhibit “B”, which is incorporated by reference.

      3.     The aforementioned loan was further modified by an agreement dated

February 1, 2012. See attached Exhibit “C”, which is incorporated by reference.

      4.     Debtor filed a petition for relief under Chapter 7 of the United States

Bankruptcy Code in this Court on February 28, 2019.

      5.     According to the 362 worksheet, executed by Julia Waco, a Bankruptcy

Team Lead with GF, the loan is contractually due for the June 1, 2013 monthly mortgage

payment and the total indebtedness is $453,489.95. A copy of the 362 worksheet is

annexed hereto and made a part hereof as Exhibit “D”.

      6.     U.S. Bank and/or GF also seek relief for any installment that becomes due

and is unpaid on the return date of this Motion. The foregoing does not represent any

accrued late charges, corporate advances, escrow advances and any amount which may

be due for costs and attorney fees which may be allowed by the Court.

      7.     According to the Property Valuation obtained by GF on or about October

31, 218 the property is valued at $443,000.00. A copy of Broker’s Price Opinion is

annexed hereto and made a part hereof as Exhibit “E”.

      8.     U.S. Bank and/or GF may be required to advance the funds necessary to

pay real property taxes or risk irreparable harm to its security interest as a result of

Debtor’s default.
      Case 8-19-71469-ast     Doc 9   Filed 03/15/19   Entered 03/15/19 14:55:18




      9.     By reason of the foregoing, U.S. Bank, its servicing agent, nominees,

successors and/or assigns should be permitted to take all necessary action to adequately

protect its security interest including commencing and/or continuing a foreclosure and

eviction proceeding.

      10.    Pursuant to 11 U.S.C. § 362(d)(1) a Court may terminate, amend or modify

the automatic stay for cause including the lack of adequate protection on an interest in

the property of the Debtor.

      11.    It is requested that in the event that an Order Granting Relief from the

Automatic Stay is granted, it is requested that such Order shall survive any conversion.

      12.    In the event that an Order Granting Relief from the Automatic Stay is

granted, the Trustee shall receive notice of any surplus monies received.

      13.    No previous application has been made for the relief requested herein.
      Case 8-19-71469-ast     Doc 9    Filed 03/15/19   Entered 03/15/19 14:55:18




      WHEREFORE, Ajax Mortgage Loan Trust 2018-F, Mortgage-Backed Securities,

Series 2018-F, by U.S. Bank National Association, as Indenture Trustee by its servicing

agent Gregory Funding, LLC, requests that this Court enter an Order granting U.S.

Bank, its nominees, successors and/or assigns relief from the automatic stay, together

with GF’s attorneys’ fees and costs in the amount of $1031.00 if settled conditionally and

$831.00 if granted on default, and GF be granted permission to communicate with the

Debtor and Debtor’s counsel to the extent necessary to comply with applicable non-

bankruptcy law, that in the event that an Order Granting Relief from the Automatic

Stay is granted, that such Order shall survive any conversion, the Trustee shall receive

notice of any surplus monies received and such other and further relief as the Court

may deem just and proper.

Dated: March 15, 2019                    SCHILLER, KNAPP,
                                         LEFKOWITZ, & HERTZEL, LLP




                                      By: __s/Lisa Milas___________________
                                          Lisa Milas, Esq.
                                          Attorneys for Ajax Mortgage Loan Trust 2018-
                                          F, Mortgage-Backed Securities, Series 2018-F,
                                          by U.S. Bank National Association, as
                                          Indenture Trustee by its servicing agent
                                          Gregory Funding, LLC
                                          950 New Loudon Road, Suite 109
                                          Latham, New York 12110
                                          (518) 786-9069
